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1    WILLIAM J. PORTANOVA, State Bar No. 106193
     Attorney at Law
2
     400 Capitol Mall, Suite 1100
3    Sacramento, CA 95814
     Telephone: (916) 444-7900
4    Fax: (916) 444-7998
     Portanova@TheLawOffices.com
5

6    Attorney for Defendant
     THOMAS W. JOPSON
7

8
                                  UNITED STATES DISTRICT COURT
9
                                EASTERN DISTRICT OF CALIFORNIA
10

11

       UNITED STATES OF AMERICA,           )              CASE NO. 2:11-CR-00275-JAM-2
12
                                           )
13                 Plaintiff,              )              STIPULATION AND
                                           )              ORDER MODIFYING CONDITIONS
14
             v.                            )              OF RELEASE
                                           )
15
       THOMAS WESLEY JOPSON,               )
16                                         )
                   Defendant.              )
       ____________________________________)
17

18

19           Thomas W. Jopson, by and through his attorney, William J. Portanova, and the United
20   States of America, by and through its counsel, Assistant United States Attorney Samuel Wong,
21   hereby jointly agree and stipulate to amend defendant’s special conditions of release as follows:
22           Condition #10 – “You (defendant, Thomas W. Jopson) shall submit to drug or alcohol
23   testing as approved by the pretrial services officer” is hereby stricken. All other conditions
24   remain in effect as previously ordered.
25           Accordingly, all parties agree with the above modifications.
26   ///
27   ///
28   ///
                                                      1
           Case 2:11-cr-00275-JAM Document 135 Filed 06/07/13 Page 2 of 2




1    DATED:              June 06, 2013          RESPECTFULLY SUBMITTED,
2                                               /s/ William J. Portanova
                                                __________________________________
3
                                                WILLIAM J. PORTANOVA
4                                               Attorney for Defendant Thomas W. Jopson

5

6    DATED:              June 06, 2013          RESPECTFULLY SUBMITTED,
7                                               /s/ Samuel Wong
                                                __________________________________
8
                                                SAMUEL WONG
9                                               Assistant U.S. Attorney

10
     IT IS SO ORDERED.
11

12
     Dated: June 6, 2013
13

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     Dad1.crim
     Jopson0275.stipord.mod.coa.doc
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